          Case 2:16-cr-00046-GMN-PAL Document 3116 Filed 01/08/18 Page 1 of 2
                                                          
                                       THE UNITED STATES DISTRICT COURT 
                                               DISTRICT OF NEVADA 
                                                      * * * * 
                                                          
UNITED STATES OF AMERICA, 
 
                        Plaintiff,                               2:16‐cr‐46‐GMN‐PAL‐1‐4 
 
vs.                                                              DATE: January 8, 2018 
 
CLIVEN D. BUNDY,                                                 Courtroom 7C
RYAN C. BUNDY,                                                    
AMMON E. BUNDY, and 
RYAN W. PAYNE, 
 
                        Defendants. 
 
                                                      
THE HONORABLE GLORIA M. NAVARRO, CHIEF UNITED STATES DISTRICT JUDGE 
 
DEPUTY CLERK: Aaron Blazevich                COURT REPORTER: Heather Newman 
 
COUNSEL FOR PLAINTIFF:  Steven Myhre, Daniel Schiess and Nadia Ahmed with FBI Agents Joel 
Willis and Sharon Gavin 
 
COUNSEL FOR DEFENDANT:  Bret Whipple, Maysoun Fletcher (Stand‐by Counsel for Ryan Bundy), 
Daniel Hill, Jay Morgan Philpot, Brenda Weksler, Shari Kaufman and Ryan Norwood  
 
COUNSEL FOR INTERVENOR: Margaret McLetchie 
 
PRETRIAL SERVICES OFFICER: Zack Bowen 
 
MINUTES OF PROCEEDINGS: Hearing on Motions to Dismiss (ECF Nos. 2,883 and 2,906) and Motion 
to Unseal Court Documents (ECF No. 3,010) 
 
9:27 a.m.  The Court convenes.  The Court admonishes the parties regarding courtroom demeanor.  
The Court GRANTS Cliven Bundy’s Motion for Joinder (ECF No. 3096).  The Court makes findings as 
stated on the record.  The Court GRANTS Defendants’ Motions to Dismiss with Prejudice, (ECF Nos. 
2883 (public document #3057), 2906 (public document #3058), 3082, 3085 (public document #3087 
and 3088).  Defendants Cliven Bundy, Ryan Bundy, Ammon Bundy and Ryan Payne are DISMISSED 
WITH PREJUDICE.  The Court hereby vacates the detention orders for Cliven Bundy.  The Court 
further vacates the Pretrial Release Orders and exonerates the bonds of Ryan Payne, Ryan Bundy, 
and Ammon Bundy.  The calendar call & Trial date is likewise vacated as to these defendants.  The 
Court Orders Mr. Ryan Payne to report to the US Marshal’s Office at the conclusion of the hearing 
in compliance with Judge Brown’s order from the District of Oregon.  The trial for the remaining 
Defendants (Melvin D. Bundy, David H. Bundy, Joseph O’Shaughnessy, and Jason D. Woods) is set 
for Monday, February 26, 2018, at 8:30 a.m. in Courtroom 7C before Chief Judge Gloria M. Navarro.  
Calendar Call is set for Thursday, February 15, 2018, at 9:00 a.m. in Courtroom 7C before Chief 
Judge Gloria M. Navarro. 
       Case 2:16-cr-00046-GMN-PAL Document 3116 Filed 01/08/18 Page 2 of 2
 
9:57 a.m.  The Court stands at recess for a morning break. 
 
10:37 a.m.  The Court reconvenes.  The Court makes preliminary statements.  The Court hears 
arguments on the Motion to Unseal Court Documents (ECF No. 3,010).  The Court GRANTS IN PART 
AND DENIES IN PART the Motion to Unseal Court Documents (ECF No. 3,010).  The Court instructs 
the parties to review previously sealed documents and to refile redacted versions, if possible.  This 
issue is referred to Magistrate Judge Leen for the setting of a status check within the next three 
weeks, if possible, regarding any remaining sealed documents and to determine if a timeline or 
procedure for handling the redaction or unsealing of sealed documents.   
 
11:24 a.m.  The Court stands at recess. 
 
 
 
                                                                DEBRA K. KEMPI, CLERK 
                                                                U.S. DISTRICT COURT 
 
                                                                BY:                /S/                                 d                           
                                                                Aaron Blazevich, Deputy Clerk 
